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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

 ALEX A., by and through his guardian,          )
 Molly Smith; BRIAN B.; and CHARLES C.,         )
 by and through his guardian, Kenione           )
 Rogers, individually and on behalf of all      )
 others similarly situated,                     )
                                                )
         Plaintiffs,                            )
                                                )
 v.                                             ) Civ. A. No. 3:22-CV-00573-SDD-RLB
                                                )
 GOVERNOR JOHN BEL EDWARDS, in                  )
 his official capacity as Governor of           ) ORDER GRANTING DEFENDANTS’
 Louisiana; WILLIAM SOMMERS, in his             ) RULE 12(b)(1) MOTION TO DISMISS
 official capacity as Deputy Secretary of the   )
 Office of Juvenile Justice, JAMES M.           )
 LEBLANC, in his official capacity as           )
 Secretary of the Louisiana Department of       )
 Public Safety & Corrections,                   )
                                                )
         Defendants.                            )

        Considering the foregoing Rule 12(b)(1) Motion to Dismiss filed by Defendants Jeff

Landry, in his official capacity as Governor of Louisiana; Kenneth “Kenny” Loftin, in his official

capacity as Deputy Secretary of the Office of Juvenile Justice; and James M. LeBlanc, in his

official capacity as Secretary of the Louisiana Department of Public Safety & Corrections

(collectively “Defendants”),

        IT IS HEREBY ORDERED that the Rule 12(b)(1) Motion to Dismiss is GRANTED and

that this lawsuit is DISMISSED for lack of subject matter jurisdiction due to mootness.

        Baton Rouge, Louisiana this _____ day of ______________________, 2024.



                                             _________________________________________
                                             UNITED STATES DISTRICT COURT JUDGE
                                             MIDDLE DISTRICT OF LOUISIANA

86098058.v1

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